                            EXHIBIT B




23-04496-mlo   Doc 1-3   Filed 12/22/23   Entered 12/22/23 10:48:19   Page 1 of 2
Exhibit B
                      Ark Laboratory, LLC
               Two Year Transfers to James Grossi
               April 13, 2021 - April 12, 2023 - Two year Pre-Petition



                                                                      Amount
Total for 23025 Jim Grossi - Draw                                 $       771,000.00
Total for 32000 S Corp Distribution                                        21,732.32
Total for 51900 Dues & Subscriptions                                       22,998.12
Total for 53750 Meals and Entertainment                                    37,333.51
Total for 53751 Meals                                                      51,128.05
Total for 53760 Entertainment                                             427,979.78
Total for 54200 Office Expenses                                              8,858.35
Total for 54210 Other General and Admin Expenses                             1,292.43
Total for 55250 Promotional                                                  1,300.00
Total for 55800 Supplies                                                     6,075.40
Total for 56250 Travel                                                    119,998.51
Total for 56750 Uncategorized Expense                                        1,843.23
Total for 56980 Uniforms                                                      903.17
Total for 69000 Unapplied Cash Bill Payment Expense                        23,000.00
Total for 99999 Expense Reports                                           692,561.08


                                                                  $      2,165,003.95




       23-04496-mlo             Doc 1-3   Filed 12/22/23    Entered 12/22/23 10:48:19   Page 2 of 2
